                   Case 2:15-cr-00022-MHT-WC Document 187 Filed 01/27/16 Page 1 of 6

AO 24E3          (Rev. 09/I1) Judgment in a Criminal Case
ii               Sheet I




                                             UNITED STATES DISTRICT COURT
                                                            MIDDLE DISTRICT OF ALABAMA

                UNITED STATES OF AMERICA                                             JUDGMENT IN A CRIMINAL CASE
                                     V.                                     )         two)
                           BRODRJCK BROWN                                            Case Number: 2:15cr22-03-MF{I-1

                                                                                     USM Number: 1537002

                                                                                     Carly B. Wilkins
                                                                                     1k feILdaLIF S AFtoDley
THE DEFENDANT:
      'p1cadcd guilty to count(s)         Nine of the Superseding Indictment on June 22, 2015
LI pleaded nolo contendere to count(s)
      which was accepted by the court.                                                                           --

LI was found guilty on count(s)
   after a plea of not guilty.                  -- -.

The defendant is adjudicated guilty of these offcnscs:

Title & Section                      Nature of Offense                                                                Offense Ended            Count

     18 Usc 922(g)(1)                 Felon in Possession of a Firearm                                                 1/912015                9s




      See additional count(s) on page 2


      The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to 1he
Sentencing Reform Act of 1984,

LI The defendant has been found not guilty on count(s)

      Count(s) 9 of the Original Indictment                     'is   Dare dismissed on the motion oL the United States -

          IL is ordered that the defendant imst notify the UnitcdStates attorney for this districl within 30 days of any chanc ol'nanie, rcidcnce,
or niatling address until all fines, restitution, costs, and special assessments in,osed by this j udeincnt are fully paid Ifordered to pay re5fltJtiOL],
the defendant must notify the court and United States attorney of material changes in economic circumstances,

                                                                           December 14, 2015
                                                                            Droc of Impo. ition Ot JLIdL'mCI]t




                                                                                    Is! Madeline H. Haikala
                                                                            Signature of.Iudge

                                                                            MADELINE HUGHES HAIKALA, United States District Judge
                                                                            Name of Judge                                      Ijic o:Jistgc


                                                                                    1/27/2016
                                                                            Da IC
            Case 2:15-cr-00022-MHT-WC Document 187 Filed 01/27/16 Page 2 of 6



AU 21B             091 1) Judgmciit in a Criminal Caw
VI           Slicel 2   1mpruwinieni

                                                                                                                    Judgment Paige: 2 c46
  DEFENDANT: BRODRICK BROWN
  CASE NUMBER: 2:15cr22-0-MHH


                                                              IMPRI SON MENT

          Ihe defendant is hereby committed to the custody of the United States Bureau ofPrisona to be imprisoned for a
 total term of:
  30 Months.




      Rf The court makes the following recommendations to the Bateau of Prisons:

  The court recommends that the defendant be designated to a facility where vocational training is available.

  The court recommends that the defendant be designated to a Facility close to Montgomery, AL,


      U The defendant is remanded to the custody of the United Stales Marshal.

      fl The defendant shall surrender to the United States Marshal for this district:
          D at _________________ U a.m. U p.m on

               as notified by the United States Marshal.

          The defendant shall surrender for service 01 sentence at the institution designated by the Bureau of Prisons:

               before 2:00 pm. an                       2/25/2016
               as notified by the United States Marshal.

          U as notified by the p robation tsr Pretrial Services Office,



                                                                     RETURN

  I have executed this judgment as follows




          Defendant delivered on                                                            to

  a                                                      with a certified copy of this judgment.



                                                                                                      UNITED STATES MARSHAL




                                                                                                   tJEPUTv UNITED STATES MARSHAL
               Case 2:15-cr-00022-MHT-WC Document 187 Filed 01/27/16 Page 3 of 6




AO 2459        (Rev. 09/11) Jutjgmcil in a Criminal Cac
               Sheet 3 Supcm'iied Rcliase

 DEFENDANT: SRODRIC)( BROWN                                                                                                Judgment Page i of 6
 CASE NUMBER: 2:15cr22-03-MHF-t
                                                          SUPERVISED RELEASE
 Upon riease from imprisonment, the defendant shall be on supervised release for a term of:
 3 Years.


          The defendant must report to the probation office in the district to which the delendani is i'CCaSed within 72 hours of relcase from the
 custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from an y unlawRd u s e nfii conrolled
 substance. The defendant shall submit to one drug tcs( within 15 days of release from lnprisonmcnt and at least IWO periodic drug tests
 thereafter, as determined by the court,

 0 The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Chick. ifoppica&.)

         The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, friptrt.)

         The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check. IJapp(icFa.)

         'l'hc defendant shall comply with the requirements 01' the Sex Offender Registration and Notification Act (42 U.S.C. § )6901, el seq.)
         as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
         works, is a student, or was convicted of a qualifying offense. (Chick. fo)plica/e,)

 0 The defendant shall participate in an approved program for domestic violence. (Chick. rfoppOc1b/e)
         llthis]udgment imposes a fine or restitution, It is a condition of supervised release that the defendant pay in accordance N y iLh the
 Schedule of Payments sheet of this judgment,
           The defendant must comply With the standard conditions thai have been adopted by this court as well as with any additional conditions
 on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION
    I)     the defendant shalt not leave the judicial district without the permission of the court or probation officer;
   2)      the defendant shall report to the probation offices in a manner and frequency directed by the court or probation ol'ficcr;
   3)      the defendantshall answer truthfully all inquiries by the probation offieer and follow the instructions of the probation officer;
   4)      the defendant shall support his or her dependents and meet other family responsibilities;
   5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
   6)      the defendant shall notify the probation officer at least len days prior to any change in residence or employment;
   7)     the defendant shall ref'rairi from excessive ose of alcohol and shall not purchase, possess. use, distribute, or administer any
          controlled substance or any paraphernalia retated to any controlled substancc, except as prescribed by a ph.sician;
     )     the defendant shall nut frequent placcs where controlled substances are illegally sold, used, distributed, or administered;
   9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
          felony, unless granted permission to do so by the probation officer;
  10)     the defendant shall permit a probation officer to visit him or her at any Litric at home or elsewhere and sha l l permit conhistion ofuny
          conirabanid observed in plain view of the probation officer;
  II) the defendant shalt notify the probation officer within seventy-two hoursof being arresled or questioned by a law enforcem.n; nifleer:
  121 the defendant shall not enter into any agreement to act as an informer or a special agent of a law cnforcemni agency withour the
        permission of the court; and

   3) as directed by the probation officer, the defendanu shall notilt third partIcsofrisks that may he occasioned by the dclendanl'5 criminal
        record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
        defendant s compliance with such notification requirement.
           Case 2:15-cr-00022-MHT-WC Document 187 Filed 01/27/16 Page 4 of 6



A0 2458     (Rcw. 09111) Judgment in a CTirnirl Cc
            SheeL                Release



 DEFENDANT BRODRICK BROWN                                                                                Judgment Pa g' : 4 of 6

 CASE NUMBER: 2:15cr22-03-MHH

                                        SPECIAL CONDITIONS OF SUPERVISION
  1. The defendant shall participate in a program of drug testing administered by the United States Probation Office.

  2. The defendant shall submit to a search of his person, residence, office and vehicle pursuant to the search policy or this
  court.
                Case 2:15-cr-00022-MHT-WC Document 187 Filed 01/27/16 Page 5 of 6



AC 2458         (Rev. 09)11) Judgmua iin a Criminal Case
vi               Shi 5 —Crhtiinat Monszry Penalties

                                                                                                                          JUdL1nierit Page S o6
     DEFENDANT: BROORICK BROWN
     CASE NUMBER: 2:15cr22-03-MH14
                                                   CRIMINAL MONETARY PENALTIES
         The defendant must pay the ti criminal monetary penalties under the schcdule of payments on Sheet 6.


                         Assessment                                           Fine                            Restitution
 TOTALS               $ 100.00                                            $                                 $ $0.00



     D The determination of restitution is deferred until                     - An Amended Judgment in a Criminal Case (40 4C) will be entered
         after such determination.

         The defendant must make restitution (including community restitution) to the t1Iowing payees in the amount Listec below.

         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
         the priority order or perccntae payment column below. However, pursuant to 18 US,C. ' 3664(1), all nonfederal v ictims must be paid
         helbj-
             e the United States is paid.

     Name if Payee                                                    Total L1Jsa                 Restitution Ordered Priorit y or Percentage




 TOTALS                                                                                   $0.00                   $0.00



     0 Restitution amount ordered pursuant to plea agreement S
          The defendant must pay interest on restitution and a fine of more than S2,500, unless the restitution or fine is pa id in full before the
          fifteenth day after the date of the judgment, pursuant to 18 US.C. § 3612(0. All of the payment options nn Sheet 6 may be suheet
          to penalties for delinquency and default, pursuant to IS U.S.C. 3612(g),

          The court determined that the defendant does not have the ability to pay interest and it s ordered that:

          0 the interest requirement is vaived for the          fl fine       71 restitution.

          0 the interest requirement for the           0 (The     0 restitution is modified as follows:

                                                                                                     13
      Findings for thetotal artvurtt (if losses are required under Chailers 109A, 110, 110A. and I of Title 18 for olTcnsescommitted on or after
     September 13, 1994, but before April 23, 1996
              Case 2:15-cr-00022-MHT-WC Document 187 Filed 01/27/16 Page 6 of 6



AO 2459          (Rc. 09111) JudErnc.ni in a Criminal Case

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                                                                                                                           !udgmsnr Page: 6 ci 6
 DEFENDANT: BRODRICK BROWN
 CASE NUMBER: 2:15cr22-03-MHH

                                                              SCHEDULE OF PAYMENTS

 Hiving assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as folIos:

A     Z Lump sum pay ment of                  100.00                due immediately, balance clue

             o  not later than                               -or
             C] in accordance                0 C,            fl
                                                              D, 0 E, or 0 F below: or

 B    D Payment to begin immediately (may he combined with                     0 C.       0 D, or        F below); or

C     L3 Paymcnc in equal                       (e.g., weekly, moithb', qtrnr!ertv) installments of S                             over a per! od of
                     'e.g., months .or year:), to commence                        (e .g.. 30 or 60 dOy!) after the date ot this jcdgment; or

D     0 Payment in equal                          (e.g., week/ y, monthly, quarer/v) instaUments of S                          over a period ot'
                           (e.g., months orars), to commence                        (e.g, JO or 60 dair) after release from imprionrncnt to a
             term of- supervision; or

 E        ] Payment durng the term of supervised release will commence Aithin                  - (e.g. 30 or 60 davsj after release I'rom
             imprisonment. The court will set the payment plan based on an assessment of the defendants ahIity to pay at that time; or

 F           Special instructions regarding the payment of criminal monetary penalties:

             All criminal monetary payments are to be made to the Clerk, United States District Court, Middle District of Alr.bartia, Post
             Office Box 711, Montgomery, Alahama 36101.




 Unless the court has expressly ordered otherwise, if thisjudgment imposes imprisonment, payment of criiiirtsl monetar y penalties is due during
 imprisonment. All crimnal monetary penalties, mcept Ihose payments m ide through the Federal Flurcau of Prisons' inmaic Finuric a
 Responsibility Program, are made to the clerk ofthe court,

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 0 joint and Seveml
      Detcndant and Co-Defendant Names and Case Numbers 'fncI.1dfngdefe9dant number), l'oo I Amount, Joint and Several Aniouiir,
      and corresponding payee, ii appropriate.




0 The defendant shall pay the cost of prosecution.
 LI The defendant shall pay Ihe following vourt cost():
      The defendant shall forfeit the defendant's interest in the following property to the United States:

      a Kel-Tec, model PLR-22,.22 caliber, semi-automatic pistol, bearing serial number 1-111.148.


Payments shall be applied in the following order: (I) assesSrOenL, (2) restitution principal. (3) restitution interest. 4) fine prneipsl,
 5) fnc interest, (6) community restitution, (7) penalties, and 8) costs, including cost of prosecution and court costs.
